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January 12, 2023

VIA ECF
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The Honorable Lewis A. Kaplan USDC SDNY
United States District Court A LOCUMENT
Southern District of New York RY ECTRONICALLY F:
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Daniel Patrick Moynihan | DOC #:

500 Pearl Street yo a
New York, New York 10007 | DATE FILED: LLL GEIB.

Re: = Carroll v. Trump, 20 Civ. 7311 (LAK) (ILC)

Dear Judge Kaplan:

We write on behalf of Plaintiff E. Jean Carroll pursuant to Your Honor’s Individual Rules
of Practice to seek the Court’s provisional approval to file certain materials under seal—and to
inform the Court of our position that those materials should not remain under seal.

Concurrently with the filing of this letter, we have filed Carroll’s opposition to Defendant
Donald J. Trump’s motion for summary judgment. Carroll’s brief and her Rule 56.1 response both
include information drawn from Trump’s deposition in this case, and excerpts from that deposition
are included among the exhibits supporting Carroll’s opposition brief. Trump’s deposition was
designated confidential under the Protective and Confidentiality Order. Although that Order makes
clear that such a designation does not create a presumption that discovery materials will be sealed,
Trump has demanded that Carroll file all excerpts of his deposition under seal. Consistent with
that position, we have redacted all information drawn from Trump’s deposition in the publicly
available versions of Carroll’s opposition filings. We also hereby seek the Court’s provisional
approval to file unredacted versions of those filings under seal—pending the Court’s assessment
of whether Trump’s request to keep his deposition sealed satisfies the governing standard.

No other witness has requested that their depositions remain sealed. Carroll did not request
sealing of the excerpts of her deposition that Trump chose to file with his motion for summary
judgment, see ECF 108, Ex. B, and Carroll does not request sealing of the additional excerpts of
her deposition that she is filing with her opposition. Carroll’s opposition also includes excerpts
from the depositions of three nonparty witnesses. None of them insisted upon a sealed filing.

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In accordance with Your Honor’s Individual Rules of Practice regarding sealed filings,
Carroll has notified Trump that he must file, within three days, a letter explaining the need to seal
the excerpts of his deposition consistent with the presumption in favor of public access to judicial
documents, It is Carroll’s position that he cannot carry his burden and that the fully unredacted
version of her opposition filings should therefore be made publicly available forthwith. “It is well-
settled that documents submitted to a court for its consideration in a summary judgment motion
are—-as a matter of law—judicial documents to which a strong presumption of access attaches....”
Brown v. Maxwell, 929 F.3d 41, 47 (2d Cir. 2019). “Summary judgment filings should not remain
under seal ‘absent the most compelling reason’ or ‘absent exceptional circumstances’ because the
act of formal adjudication should be subject to public scrutiny.” Rojas v. Triborough Bridge &
Tunnel Auth., No. 18 Civ. 1433, 2022 WL 773309, at *1 (S.D.N-Y. Mar. 14, 2022) (quoting
Lugosch vy, Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir. 2006)). Trump has provided no
explanation of how he might meet that high standard in these circumstances—and based on our
review of the relevant materials, we do not believe any such explanation could withstand scrutiny.

We appreciate the Court’s attention to this matter.

Respectfully submitted,

Roberta A. Kaplan

cc! Counsel of Record (via ECF)

